                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

RICKEY KIMBRIEL, on behalf of himself and all )
others similarly situated, PAULA KIMBRIEL, on )
behalf of herself and all others similarly situated, )
                                                     )
                               Plaintiff,            )
                                                     )
        v.                                           )            JUDGMENT
                                                     )          5:19-CV-215-BO
ABB, INC. and BALDOR                                 )
ELECTRIC COMPANY,                                    )
                                                     )
                               Defendants.           )
                                                     )

Decision by Court.
This matter is before the Court on defendants' motion to dismiss plaintiffs' complaint. [DE 15].

IT IS ORDERED, ADJUDGED AND DECREED defendants' motion to dismiss [DE 15] for
lack of subject-matter jurisdiction is GRANTED and plaintiffs' complaint is DISMISSED.
Plaintiffs' consent motion [DE 22] is DENIED.

This case is closed.

This judgment filed and entered on October 1, 2019, and served on:
Joe Leniski (via CM/ECF Notice of Electronic Filing)
Narendra Ghosh (via CM/ECF Notice of Electronic Filing)
Curtis Shipley (via CM/ECF Notice of Electronic Filing)
Jeffrey Young (via CM/ECF Notice of Electronic Filing)
Kelly Dagger (via CM/ECF Notice of Electronic Filing)
Lenor Segal (via CM/ECF Notice of Electronic Filing)
Scottie Lee (via CM/ECF Notice of Electronic Filing)



                                             PETER A. MOORE, JR., CLERK
October 1, 2019
                                              /s/Lindsay Stouch
                                             By: Deputy Clerk




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